            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                       CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )           ORDER
                                         )
                                         )
TERRY W. STEWART                         )
                                         )


     THIS MATTER is before the Court on the Defendant’s pro se motion

for relief from judgment pursuant to Fed. R. Crim. P. 60(b).

     The Court has no jurisdiction to issue a ruling on Defendant’s motion

because his case is presently on appeal. Additionally, because the

Defendant is represented by counsel, he may not file pro se motions with

the Court. Any matter needing the Court’s attention must be made through

counsel.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

relief from judgment is hereby DENIED.




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                               Signed: February 14, 2007




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